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                                             THE CITY OF NEW YORK

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       May 26, 2023

       Honorable Catherine O'Hagan Wolfe
       Clerk of the Court
       United States Court of Appeals for the Second Circuit
       Thurgood Marshall United States Courthouse
       40 Foley Square
       New York, N.Y. 10007

                       Re: Springs v. Citv o[New Yorke/ al. , Docket No. 22-1687

       Dear Ms. Wolfe:

              I am currently one of three attorneys who are counsel for appellees the City ofNew York,
       Fire Commissioner Daniel A. Nigro, and Lieutenant Edward Vreeland (City appellees) in the
       above-referenced appeal. After today, May 26, 2023, I will no longer be employed as an Assistant
       Corporation Counsel for the City of New York. I therefore write to respectfully request that I be
       removed as counsel for the City appellees.

                       Thank you for your attention to this matter.

                                                                      Respectfully submitted,


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                                                                      Benjamin H. Pollak
                                                                      Assistant Corporation Counsel

       cc:     Kenneth McCallion, Esq.
               Counsel for Appellant
               (via CM/ECF)
